4:07-cr-03167-RGK-DLP        Doc # 100    Filed: 10/07/08    Page 1 of 1 - Page ID # 364


                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:07CR3167
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
CRISTOBAL CAMACHO,                          )
                                            )
                    Defendant.              )

      IT IS ORDERED that:


      (1)    The defendant’s motion to continue sentencing (filing 99) is granted.


      (2)    Defendant Camacho’s evidentiary hearing and sentencing are continued to
Wednesday, November 19, 2008, at 1:00 p.m., before the undersigned United States district
judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.


      October 7, 2008.                   BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
